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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION

SANDRA K. NORMAN, individually and on behalf of all
wrongful death beneficiaries of LAUREN LEE SMITH,
DECEASED, and the QUICK CHILD she was carrying
at the time of her death                                                                PLAINTIFF

VS.                                               CIVIL ACTION NO.: 3:20-cv-187-DMB-JMV

INDIVIOR, INC. et al.                                                                DEFENDANTS

                                              ORDER


        This matter is before the court on the joint motion [43] of the parties to stay proceedings

before this Court until the Judicial Panel on Multidistrict Litigation (“JPML”) resolves the

pending, unopposed motion to transfer this case to the Multidistrict Litigation (“MDL”). Having

considered the premises, the court finds that the motion is well taken and shall be granted.

        On October 14, 2020, Hikma Labs, Inc. (“Hikma”) filed a motion to transfer this case to

the MDL. Hikma’s unopposed motion to transfer will be considered, without argument, on January

28, 2021. For the reasons cited in the joint motion of the parties, the undersigned finds that it is in

the interest of judicial economy to exercise its discretion to stay this case.

        Accordingly, the joint motion to stay the case is hereby granted and this case is hereby

stayed until the earlier of the MDL’s decision on the pending motion to transfer or February 28,

2021, upon which the parties shall notify the court.

        SO ORDERED this, the 12th day of January, 2021.

                                               /s/ Jane M. Virden
                                               UNITED STATES MAGISTRATE JUDGE
